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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

BRANDON GROSS,                            )
                                          )
              Plaintiff                   )
                                          )       1:17-cv-00297-JAW
v.                                        )
                                          )
SCOTT LANDRY, et al.,                     )
                                          )
              Defendants                  )

        RECOMMENDED DECISION AFTER SCREENING COMPLAINT
               PURSUANT TO 28 U.S.C. §§ 1915(e), 1915A

       In this action, Plaintiff Brandon Gross, an inmate in the custody of the Maine

Department of Corrections, alleges he is hearing disabled and that certain defendants

employed by Defendant Correct Care Solutions, LLC, have been deliberately indifferent

to his serious health needs. Plaintiff also asserts that other defendants employed by the

Maine Department of Corrections violated his rights under the Due Process Clause, and

have discriminated against him based on his disability.

       Plaintiff filed an application to proceed in forma pauperis (ECF No. 4), which

application the Court granted. (ECF No. 6.) In accordance with the in forma pauperis

statute, a preliminary review of Plaintiff’s complaint is appropriate.         28 U.S.C. §

1915(e)(2). Additionally, Plaintiff’s complaint is subject to screening “before docketing,

if feasible or … as soon as practicable after docketing,” because he is “a prisoner seek[ing]

redress from a governmental entity or officer or employee of a governmental entity.” 28

U.S.C. § 1915A(a).



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       Following a review of the Plaintiff’s complaint, including the attachments to the

complaint, I recommend the Court dismiss Plaintiff’s claims against some of the

defendants, but order service on other defendants.

                                  STANDARD OF REVIEW

       The federal in forma pauperis statute, 28 U.S.C. § 1915, is designed to ensure

meaningful access to the federal courts for those persons unable to pay the costs of bringing

an action. When a party is proceeding in forma pauperis, however, “the court shall dismiss

the case at any time if the court determines,” inter alia, that the action is “frivolous or

malicious” or “fails to state a claim on which relief may be granted” or “seeks monetary

relief against a defendant who is immune from such relief.” 28 U.S.C. § 1915(e)(2)(B).

“Dismissals [under § 1915] are often made sua sponte prior to the issuance of process, so

as to spare prospective defendants the inconvenience and expense of answering such

complaints.” Neitzke v. Williams, 490 U.S. 319, 324 (1989).

       In addition to the review contemplated by § 1915, Plaintiff’s complaint is subject to

screening under the Prison Litigation Reform Act because Plaintiff currently is incarcerated

and seeks redress from governmental entities and officers. See 28 U.S.C. § 1915A(a), (c).

The § 1915A screening requires courts to “identify cognizable claims or dismiss the

complaint, or any portion of the complaint, if the complaint (1) is frivolous, malicious, or

fails to state a claim …; or (2) seeks monetary relief from a defendant who is immune from

such relief.” 28 U.S.C. § 1915A(b).

       When considering whether a complaint states a claim for which relief may be

granted, courts must assume the truth of all well-plead facts and give the plaintiff the

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benefit of all reasonable inferences therefrom. Ocasio-Hernandez v. Fortuno-Burset, 640

F.3d 1, 12 (1st Cir. 2011). A complaint fails to state a claim upon which relief can be

granted if it does not plead “enough facts to state a claim to relief that is plausible on its

face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007).

        Although a pro se plaintiff’s complaint is subject to “less stringent standards than

formal pleadings drafted by lawyers,” Haines v. Kerner, 404 U.S. 519, 520 (1972), this is

“not to say that pro se plaintiffs are not required to plead basic facts sufficient to state a

claim,” Ferranti v. Moran, 618 F.2d 888, 890 (1st Cir. 1980). To allege a civil action in

federal court, it is not enough for a plaintiff merely to allege that a defendant acted

unlawfully; a plaintiff must affirmatively allege facts that identify the manner by which the

defendant subjected the plaintiff to a harm for which the law affords a remedy. Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009).

                                      FACTUAL BACKGROUND1

        Plaintiff alleges that he is hearing impaired in his left ear, which impairment

Defendants confirmed upon Plaintiff’s initial medical screening at the Maine Correctional

Center.     (Complaint ¶¶ 23, 34.)           According to Plaintiff, he initially received “the

appropriate accommodation,” which consisted of a hearing impaired sign for his cell door,

but the sign was removed when corrections officers complained that they had to awaken

Plaintiff during the morning cell count. (Id. ¶¶ 25, 27, 40, 41.) Plaintiff also contends that



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  The facts set forth herein are derived from Plaintiff’s complaint, which facts are deemed true when
evaluating whether Plaintiff has stated an actionable claim. Beddall v. State St. Bank & Trust Co., 137 F.3d
12, 16 (1st Cir. 1998).


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after the removal of the sign, he “has had numerous disciplinary infractions for sleeping

thr[ough] formal ‘count’” because “he does not hear ‘count’ being yelled by the unit

officers.” (Id. ¶¶ 33 – 34.)

       Plaintiff asserts that the discipline imposed violates the Due Process Clause and is

discriminatory, and that the denial of the hearing impaired sign and wake up procedure

constitutes the denial of a reasonable accommodation for his hearing disability. (Id. ¶¶ 40

– 42, 54 – 57.) Plaintiff also alleges that he has repeatedly requested a professional hearing

examination, but that his request has been denied.

       Plaintiff asserts a claim of deliberate indifference against Defendants Wendy Riebe,

Hope Freeman, Cindy McDonough, and Robert Clinton, who are employed by Defendant

Correct Care Solutions, LLC. (Id. § VI.A, B.) In addition, Plaintiff alleges a due process

claim against Defendant Shawn Welch, an employee of the Maine Department of

Corrections, who, according to Plaintiff, conducted Plaintiff’s disciplinary hearing without

giving proper consideration to Plaintiff’s hearing disability, and against Defendant Scott

Landry, also an employee of the Maine Department of Corrections, who sustained the

discipline on appeal. (Id. § VI.D, VII.A.2.) Plaintiff also asserts a state law claim of

“breach of duty” against “all” defendants. (Id. § VI.C.)

                                        DISCUSSION

       Plaintiff asserts four claims: (1) deliberate indifference to medical need; (2) denial

of due process; (3) disability discrimination/failure to accommodate under federal law; and

(4) breach of duty/failure to accommodate under state law. Plaintiff joined 15 defendants.



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1.     Deliberate Indifference

       Plaintiff’s right to medical care is governed by the Due Process Clause of the

Fourteenth Amendment. Specifically, the Due Process Clause imposes on the states the

“substantive obligation” not to treat prisoners in their care in a manner that reflects

“deliberate indifference” toward “a substantial risk of serious harm to health,” Coscia v.

Town of Pembroke, 659 F.3d 37, 39 (1st Cir. 2011), or “serious medical needs,” Feeney v.

Corr. Med. Servs., 464 F.3d 158, 161 (1st Cir. 2006) (quoting Estelle v. Gamble, 429 U.S.

97, 105 – 106 (1976)). To be actionable, a deliberate indifference claim must satisfy both

an objective and a subjective standard. Leavitt v. Corr. Med. Servs., 645 F.3d 484, 497 (1st

Cir. 2011).

       The objective standard evaluates the seriousness of the risk of harm to one’s health.

For a medical condition to be objectively “serious,” there must be “a sufficiently substantial

‘risk of serious damage to [the inmate’s] future health.’” Farmer v. Brennan, 511 U.S.

825, 843 (1994) (quoting Helling v. McKinney, 509 U.S. 25, 35 (1993)). A medical need

is serious if it has been diagnosed by a physician as mandating treatment, or is so obvious

that even a lay person would recognize a need for medical intervention. Leavitt, 645 F.3d

at 497; Gaudreault v. Mun. of Salem, 923 F.2d 203, 208 (1st Cir. 1990), cert. denied, 500

U.S. 956 (1991).

       The subjective standard concerns the culpability of the defendant. There must be

evidence that a particular defendant possessed a culpable state of mind amounting to

“deliberate indifference to an inmate’s health or safety.” Farmer, 511 U.S. at 834 (internal

quotation marks omitted).      Deliberate indifference is akin to criminal recklessness,

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“requiring actual knowledge of impending harm, easily preventable.” Feeney, 464 F.3d at

162 (quoting Watson v. Caton, 984 F.2d 537, 540 (1st Cir. 1993)). The focus of the

deliberate indifference analysis “is on what the jailers knew and what they did in response.”

Burrell v. Hampshire Cnty., 307 F.3d 1, 8 (1st Cir. 2002).

       Plaintiff asserts his deliberate indifference claim against his prison medical

providers, i.e., Defendants Robert Clinton, Hope Freeman, Cindy McDonough, Wendy

Riebe, and Correct Care Solutions, all of whom Plaintiff states were aware of his need for

a hearing test and have denied him care for a hearing disability. (Complaint at 13 – 14.)

Plaintiff’s allegation of a hearing impairment suggests the existence of a serious medical

need. Additionally, Plaintiff alleges that the medical provider defendants were on notice

of his requests for care and purposefully denied him care. The allegations are sufficient at

this stage of the proceedings. See, e.g., Fowler v. Dep’t of Correction, No. 3:17-cv-00848,

2017 WL 3401252, at *7 (D. Conn. Aug. 8, 2017).

2.     Due Process

       “[W]hile persons imprisoned for crime enjoy many protections of the Constitution,

it is also clear that imprisonment carries with it the circumscription or loss of many

significant rights.” Hudson v. Palmer, 468 U.S. 517, 524 (1984). With respect to the Due

Process Clause, “[a]s long as the conditions or degree of confinement to which the prisoner

is subjected is within the sentence imposed upon him and is not otherwise violative of the

Constitution, the Due Process Clause does not in itself subject an inmate’s treatment by

prison authorities to judicial oversight.” Montanye v. Haymes, 427 U.S. 236, 242 (1976).

For example, to raise a due process concern over a deprivation of liberty, a prisoner’s

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complaint must describe an “atypical and significant hardship … in relation to the ordinary

incidents of prison life.” Sandin v. Conner, 515 U.S. 472, 484 (1995) (holding that prisoner

placed in segregation for 30 days did not experience “a major disruption in his

environment”).

       In Wilkinson v. Austin, the Supreme Court explained:

       After Sandin, it is clear that the touchstone of the inquiry into the existence
       of a protected, state-created liberty interest in avoiding restrictive conditions
       of confinement is not the language of regulations regarding those conditions
       but the nature of those conditions themselves “in relation to the ordinary
       incidents of prison life.” Id., at 484, 115 S. Ct. 2293.

       Applying this refined inquiry, Sandin found no liberty interest protecting
       against a 30-day assignment to segregated confinement because it did not
       “present a dramatic departure from the basic conditions of [the inmate’s]
       sentence.” Id., at 485, 115 S. Ct. 2293. We noted, for example, that inmates
       in the general population experienced “significant amounts of ‘lockdown
       time’” and that the degree of confinement in disciplinary segregation was not
       excessive. Id., at 486, 115 S. Ct. 2293. We did not find, moreover, the short
       duration of segregation to work a major disruption in the inmate’s
       environment. Ibid.

545 U.S. at 223.

       Plaintiff alleges Defendant Welch deprived him of due process in connection with

a disciplinary hearing because Defendant Welch denied Plaintiff an adequate opportunity

to prove his hearing disability.     (Complaint at 9, ¶ 43, and 14 – 15.) According to

Plaintiff’s filings, he received a few short-term (5-day) disciplinary sanctions that involved

a cell restriction and loss of certain privileges. (PageID ## 22 – 23, 41.) Additionally, in

June 2017, Plaintiff received a 30-day cell restriction and loss of privileges. (PageID #

68.)   Plaintiff’s allegations and documents attached to his complaint do not disclose or

describe an atypical and significant hardship as contemplated by Wilkinson and Sandin.

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Because the discipline disclosed in Plaintiff’s complaint and related filings does not

constitute an atypical and significant hardship, Plaintiff has not asserted an actionable due

process claim.

3.      Disability Discrimination

        Plaintiff asserts that he “seeks an injunction and damages pursuant to the Americans

with Disabilities Act.” (Complaint at 2, ¶ 1.) The Americans with Disabilities Act (ADA)

and Rehabilitation Act “provide, in nearly identical language, that “no qualified individual

with a disability shall, by reason of such disability, be excluded from participation in or be

denied the benefits of the services, programs, or activities of a public entity, or be subjected

to discrimination by any such entity.” Nunes v. Mass. Dep’t of Corr., 766 F.3d 136, 144

(1st Cir. 2014).2

        Disability discrimination can consist of (a) the imposition of adverse consequences

on a prisoner based on the prisoner’s disability, (b) a prison policy that is neutral in its

terms, but impacts prisoners with a disability more significantly, or (c) the refusal by the

prison administrators to grant the prisoner a reasonable accommodation so that the prisoner

can have meaningful access to a prison program or service. Id.




2
 Title II prohibits such conduct by public entities. 42 U.S.C. § 12132. Title III prohibits discrimination in
places of public accommodation. 42 U.S.C. § 12182(a). Section 504 of the Rehabilitation Act prohibits
discrimination under any program or activity receiving federal financial assistance. 29 U.S.C. § 794(a).
The Supreme Court has observed that “[m]odern prisons provide inmates with many recreational activities,
medical services, and educational and vocational programs, all of which at least theoretically ‘benefit’ the
prisoners (and any of which disabled prisoners could be excluded from participation in).” Penn. Dep’t of
Corr. v. Yeskey, 524 U.S. 206, 210 (1998) (some internal quotation marks omitted).


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       To state a claim, a plaintiff must provide a short and plain statement that identifies

the disability and the relationship between the disability and the policy or practice on which

the discrimination claim is based. See, e.g., Toledo v. Sanchez, 454 F.3d 24, 31 (1st Cir.

2006) (“To state a claim for a violation of Title II [of the ADA], a plaintiff must allege: (1)

that he is a qualified individual with a disability; (2) that he was either excluded from

participation in or denied the benefits of some public entity’s services, programs, or

activities or was otherwise discriminated against; and (3) that such exclusion, denial of

benefits or discrimination was by reason of his disability.”).

       At this preliminary stage of the proceedings, because Plaintiff alleges that on

multiple occasions, he has been subjected to discipline based on his hearing disability, and

because Plaintiff alleges the denial of a reasonable accommodation in the form of a hearing

impaired sign and an alternative morning count practice, Plaintiff has adequately alleged a

claim under the ADA. A question nevertheless remains as to whether Plaintiff has asserted

an actionable claim against an appropriate defendant. Plaintiff alleges that “all defendants”

have violated his rights. (Complaint ¶¶ 55 – 56.) This Court and other courts have held

that there is no individual liability under Title II of the ADA or section 504 of the

Rehabilitation Act. See DeCotiis v. Whittemore, 842 F.Supp.2d 354, 363 n.5 (D. Me.

2012). Courts have held, however, that a plaintiff may sue individual defendants in their

official capacities for prospective injunctive relief pursuant to Title II of the ADA and/or

the Rehabilitation Act. See, e.g., Harris v. Mills, 572 F.3d 66, 72 (2d Cir. 2009); Miranda

B. v. Kitzhaber, 328 F.3d 1181, 1188 – 89 (9th Cir. 2003).



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        Here, Plaintiff could conceivably obtain relief under the ADA against Defendant

Scott Landry, the Warden of the Maine Correctional Center, in his official capacity,3 and

against Defendant Correct Care Solutions, LLC.

4.      State Law

        Plaintiff alleges “all MDOC Defendants” (i.e., ten individual defendants) breached

duties owed to him under state law and prison policy, citing complaint exhibits 46 and 47.

(Complaint at 14, ¶ C.) Exhibit 46 is the Department of Corrections policy governing the

accommodation of disabilities. (ECF No. 2-35.) Exhibit 47 is the Department policy

prohibiting discrimination against prisoners on the basis of, inter alia, disability. (ECF No.

2-36.) Evidently, Plaintiff seeks to assert a state law claim against any individual who

participated in the prison discipline process initiated as the result of Plaintiff’s failure on

certain occasions to present himself during morning count. Plaintiff, therefore, arguably

attempts to assert a claim as arising under the Maine Human Rights Act (MHRA).

        Pursuant to the public accommodation provisions of the MHRA:

        It is unlawful public accommodations discrimination, in violation of this Act:

        1. Denial of public accommodations. For any public accommodation or
        any person who is the owner, lessor, lessee, proprietor, operator, manager,
        superintendent, agent or employee of any place of public accommodation to
        directly or indirectly refuse, discriminate against or in any manner withhold
        from or deny the full and equal enjoyment to any person, on account of …
        physical or mental disability … any of the accommodations, advantages,
        facilities, goods, services or privileges of public accommodation, or in any
        manner discriminate against any person in the price, terms or conditions upon
        which access to accommodation, advantages, facilities, goods, services and
        privileges may depend.

3
 Because Plaintiff has not asserted his claim against the Department of Corrections, Defendant Landry, the
Warden of the Maine Correctional Center, is a proper party in his official capacity.

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5 M.R.S. § 4592. The MHRA authorizes the filing of a civil action as follows: “Within

the time limited, an aggrieved person may file a civil action in the Superior Court against

the person or persons who committed the unlawful discrimination.” Id. § 4621.

       In the analogous context of employment discrimination, the Maine Supreme Judicial

Court, sitting as the Law Court, has held that the MHRA’s somewhat broad language is

designed to ensure the availability of vicarious liability against the entity that owes the

legal obligation to an aggrieved person, and not to impose personal liability on the

individuals who act on behalf of the entity. Fuhrmann v. Staples Office Superstore E., Inc.,

2012 ME 135, ¶¶ 32 – 34, 58 A.3d 1083, 1097 – 98. Applying a similar analysis in this

context, the only entity that could be deemed a public accommodation under the MHRA

regarding prisoner discipline and prisoner privileges is the Maine Department of

Corrections. Such an approach brings the MHRA in accord with federal law, and is

consistent with the view that federal law generally should be used as an interpretive guide

when construing the MHRA. Currie v. Indus. Sec., Inc., 915 A.2d 400, 404 (Me. 2007).

See also Dudley v. Hannaford Bros. Co., 190 F. Supp. 2d 69, 73 (D. Me. 2002), aff’d 333

F.3d 299 (1st Cir. 2003) (“Courts have interpreted the ADA and MHRA statutes as

coextensive.”); Smith v. Maine Sch. Admin. Dist. No. 6, No. 2:00-cv-00284, 2001 WL

68305, at *4 (D. Me. Jan. 29, 2001); Doe v. Sch. Admin. Dist. No. 19, 66 F. Supp. 2d 57,

61 (D. Me. 1999); United States ex rel. Worthy v. E. Maine Healthcare Sys., No. 2:14-cv-

00184-JAW, 2017 WL 211609, at *32 (D. Me. Jan. 18, 2017).




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      To the extent, therefore, that Plaintiff’s complaint can be construed to assert a state

law discrimination claim under the MHRA, the claim is in essence similar to Plaintiff’s

claim under the ADA, which claim is properly asserted against Defendant Landry in his

official capacity and Defendant Correct Care Solutions, LLC.

                                       CONCLUSION

      Based on the foregoing analysis, pursuant to 28 U.S.C. § 1915(e)(2) and 28 U.S.C.

§ 1915A(a), I recommend the Court dismiss Plaintiff’s claims against Defendants Bailey,

Brown, Carr, James, Lussier, Reed, Segler, Shipman, and Welch. If the Court adopts the

recommendation, I recommend the Court order service of the complaint pursuant to 28

U.S.C. § 1915(d) on Defendants Clinton, Freeman, Landry, McDonough, Riebe, and

Correct Care Solutions, LLC, on Plaintiff’s deliberate indifference claim and Plaintiff’s

discrimination claims under the Americans with Disabilities Act and the Maine Human

Rights Act.

                                         NOTICE

             A party may file objections to those specified portions of a magistrate
      judge’s report or proposed findings or recommended decisions entered
      pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by the district
      court is sought, together with a supporting memorandum, within fourteen
      (14) days of being served with a copy thereof.

             Failure to file a timely objection shall constitute a waiver of the right
      to de novo review by the district court and to appeal the district court’s order.

                                          /s/ John C. Nivison
                                          U.S. Magistrate Judge

      Dated this 17th day of November, 2017.



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